            Sub-     Sub-             Time
Folder      Folder Case
                     Folder 2   Year  Period
                        2:24-cv-01745-RAJ              Document
                                                    Document    Name Filed 01/01/25
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                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   January        eStmt_2022-01-31       January 31, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   February       eStmt_2022-02-28       February 28, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   March          eStmt_2022-03-31 (1)   March 31, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   April          eStmt_2022-04-29 (1)   April 29, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   May            eStmt_2022-05-31 (1)   May 31, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   June           eStmt_2022-06-30       June 30, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   July           eStmt_2022-07-29       July 29, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   August         eStmt_2022-08-31       August 31, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   September      eStmt_2022-09-30 (2)   September 31, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   October        eStmt_2022-10-31 (1)   October 31, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   November       eStmt_2022-11-30 (1)   November 30, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2022   December       eStmt_2022-12-30 (2)   December 30, 2022.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   January        eStmt_2023-01-31       January 31, 2023.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   February       eStmt_2023-02-28       February 28, 2023.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   March          eStmt_2023-03-31       March 31, 2023.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   April          eStmt_2023-04-28 (1)   April 28, 2023.
                                                                               Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   May            eStmt_2023-05-31 (1)   May 31, 2023.
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                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   June          eStmt_2023-06-30 (1)      June 30, 2023.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   July          eStmt_2023-07-31          July 31, 2023.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   August        eStmt_2023-08-31          August 31, 2023.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   September     eStmt_2023-09-29          September 29, 2023.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   October       eStmt_2023-10-31          October 31, 2023.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   November      eStmt_2023-11-30          November 30, 2023.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2023   December      eStmt_2023-12-29          December 29, 2023.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   January       eStmt_2024-01-31          January 31, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   February      eStmt_2024-02-29          February 29, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   March         eStmt_2024-03-29 (1)      March 29, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   April         eStmt_2024-04-30          April 30, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   May           eStmt_2024-05-31          May 31, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   June          eStmt_2024-06-28          June 28, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   July          eStmt_2024-07-31          July 31, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   August        eStmt_2024-08-30          August 30, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   September     eStmt_2024-09-30          September 30, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   October       eStmt_2024-10-31          October 31, 2024.
                                                                                 Respondent & Petitioner Joint Account - Bank
            Bank of   Cards and                                                  of America Preferred Rewards - Ending Balance
Request 7   America   Dhivya      2024   November      eStmt_2024-11-29          November 29, 2024.
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            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   January       eStmt_2022-01-31 (1)   Rewards - Ending Balance January 31, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   February      eStmt_2022-02-28 (1)   Rewards - Ending Balance February 28, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   March         eStmt_2022-03-31 (2)   Rewards - Ending Balance March 31, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   April         eStmt_2022-04-29 (2)   Rewards - Ending Balance April 29, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   May           eStmt_2022-05-31 (2)   Rewards - Ending Balance May 31, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   June          eStmt_2022-06-30 (1)   Rewards - Ending Balance June 30, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   July          eStmt_2022-07-29 (1)   Rewards - Ending Balance July 29, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   August        eStmt_2022-08-31 (1)   Rewards - Ending Balance August 31, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   September     eStmt_2022-09-30 (3)   Rewards - Ending Balance September 30, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   October       eStmt_2022-10-31 (2)   Rewards - Ending Balance October 31, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   November      eStmt_2022-11-30 (2)   Rewards - Ending Balance November 30, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2022   December      eStmt_2022-12-30 (3)   Rewards - Ending Balance December 30, 2022.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   January       eStmt_2023-01-31 (1)   Rewards - Ending Balance January 31, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   February      eStmt_2023-02-28 (1)   Rewards - Ending Balance February 28, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   March         eStmt_2023-03-31 (1)   Rewards - Ending Balance March 31, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   April         eStmt_2023-04-28 (2)   Rewards - Ending Balance April 28, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   May           eStmt_2023-05-31 (2)   Rewards - Ending Balance May 31, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   June          eStmt_2023-06-30 (2)   Rewards - Ending Balance June 30, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   July          eStmt_2023-07-31 (1)   Rewards - Ending Balance July 31, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   August        eStmt_2023-08-31 (1)   Rewards - Ending Balance August 31, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   September     eStmt_2023-09-29 (1)   Rewards - Ending Balance September 29, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   October       eStmt_2023-10-31 (1)   Rewards - Ending Balance October 31, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   November      eStmt_2023-11-30 (1)   Rewards - Ending Balance November 30, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2023   December      eStmt_2023-12-29 (1)   Rewards - Ending Balance December 29, 2023.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2024   January       eStmt_2024-01-31 (1)   Rewards - Ending Balance January 31, 2024.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2024   February      eStmt_2024-02-29 (1)   Rewards - Ending Balance February 29, 2024.
            Bank of                                                         Petitioner Account - Bank of America Preferred
Request 7   America   Payroll   2024   March         eStmt_2024-03-29 (2)   Rewards - Ending Balance March 29, 2024.
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            Bank of                                                                 Petitioner Account - Bank of America Preferred
Request 7   America     Payroll     2024   April          eStmt_2024-04-30 (1)      Rewards - Ending Balance April 30, 2024.
            Bank of                                                                 Petitioner Account - Bank of America Preferred
Request 7   America     Payroll     2024   May            eStmt_2024-05-31 (1)      Rewards - Ending Balance May 31, 2024.
            Bank of                                                                 Petitioner Account - Bank of America Preferred
Request 7   America     Payroll     2024   June           eStmt_2024-06-28 (1)      Rewards - Ending Balance June 28, 2024.
            Bank of                                                                 Petitioner Account - Bank of America Preferred
Request 7   America     Payroll     2024   July           eStmt_2024-07-31 (1)      Rewards - Ending Balance July 31, 2024.
            Bank of                                                                 Petitioner Account - Bank of America Preferred
Request 7   America     Payroll     2024   August         eStmt_2024-08-30 (1)      Rewards - Ending Balance August 30, 2024.
            Bank of                                                                 Petitioner Account - Bank of America Preferred
Request 7   America     Payroll     2024   September      eStmt_2024-09-30 (1)      Rewards - Ending Balance Septmber 30, 2024.
            Bank of                                                                 Petitioner Account - Bank of America Preferred
Request 7   America     Payroll     2024   October        eStmt_2024-10-31 (1)      Rewards - Ending Balance October 31, 2024.
            Bank of                                                                 Petitioner Account - Bank of America Preferred
Request 7   America     Payroll     2024   November       eStmt_2024-11-29 (1)      Rewards - Ending Balance November 29, 2024.
                                                          ClientStatements_202203   Petitioner Investment Account - January 1 -
Request 7   E-Trade     Brokerage   2022   Jan - March    31D_1735375592798_3       March 31, 2022.
                                                          ClientStatements_202206   Petitioner Investment Account - April 1 - June
Request 7   E-Trade     Brokerage   2022   April - June   30D_1735375592723_2       30, 2022.
                                                          ClientStatements_202209   Petitioner Investment Account - July 1 -
Request 7   E-Trade     Brokerage   2022   July - Sept    30D_1735375592501_1       September 30, 2022.
                                                          ClientStatements_202212   Petitioner Investment Account - October 1 -
Request 7   E-Trade     Brokerage   2022   Oct - Dec      30D_1735375592836_0       December 31, 2022.
                                                          ClientStatements_202303   Petitioner Investment Account - January 1 -
Request 7   E-Trade     Brokerage   2023   Jan - March    31D_1735375508009_1       March 30, 2023.
                                                          ClientStatements_202306   Petitioner Investment Account - April 1 - June
Request 7   E-Trade     Brokerage   2023   April - June   30D_1735375508710_2       30, 2023.
                                                          ClientStatements_202309   Petitioner Investment Account - June 1 -
Request 7   E-Trade     Brokerage   2023   June - Sept    29D_1735375508921_3       September 30, 2023.
                                                          ClientStatements_202309   Petitioner Account Summary Statement -
Request 7   E-Trade     Brokerage   2023   September      30D_1735375506368_4       September 2023.
                                                          ClientStatements_202312   Petitioner Account - 2023 Recap of Cash
Request 7   E-Trade     Brokerage   2023                  31D_1735375506339_5       Management Activity.
                                                          ClientStatements_202312   Petitioner Account Summary Statement -
Request 7   E-Trade     Brokerage   2023   Oct - Dec      31D_1735375506355_0       October 1 - December 31, 2023.
                                                          ClientStatements_202403   Petitioner Account Summary Statement -
Request 7   E-Trade     Brokerage   2024   Jan - March    31D_1735375405729_2       January 1 - March 31, 2024.
                                                          ClientStatements_202406   Petitioner Account Summary Statement - April 1
Request 7   E-Trade     Brokerage   2024   April - June   30D_1735375405746_1       - June 30, 2024.
                                                          ClientStatements_202409   Petitioner Account Summary Statement - July 1
Request 7   E-Trade     Brokerage   2024   July - Sept    30D_1735375405717_0       - September 30, 2024.
                                                          ClientStatements_202201   Petitioner Retirement Account - January 1 -
Request 7   E-Trade     IRA         2022   January        31D_1735375650131_11      January 31, 2022.
                                                          ClientStatements_202202   Petitioner Retirement Account - February 1 -
Request 7   E-Trade     IRA         2022   February       28D_1735375650402_10      February 28, 2022.
                                                          ClientStatements_202203   Petitioner Retirement Account - March 1 -
Request 7   E-Trade     IRA         2022   March          31D_1735375653447_9       March 31, 2022.
                                                          ClientStatements_202204   Petitioner Retirement Account - April 1 - April
Request 7   E-Trade     IRA         2022   April          29D_1735375652371_8       30, 2022.
                                                          ClientStatements_202205   Petitioner Retirement Account - May 1 - May
Request 7   E-Trade     IRA         2022   May            31D_1735375650298_7       31, 2022.
                                                          ClientStatements_202206   Petitioner Retirement Account - June 1 - June
Request 7   E-Trade     IRA         2022   June           30D_1735375651775_6       30, 2022.
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                                                        ClientStatements_202207   Petitioner Retirement Account - July 1 - July 31,
Request 7   E-Trade     IRA       2022   July           29D_1735375650195_5       2022.
                                                        ClientStatements_202208   Petitioner Retirement Account - August 1 -
Request 7   E-Trade     IRA       2022   August         31D_1735375651875_4       August 31, 2022.
                                                        ClientStatements_202209   Petitioner Retirement Account - September 1 -
Request 7   E-Trade     IRA       2022   September      30D_1735375650408_3       September 30, 2022.
                                                        ClientStatements_202210   Petitioner Retirement Account - October 1 -
Request 7   E-Trade     IRA       2022   October        31D_1735375653430_2       October 31, 2022.
                                                        ClientStatements_202211   Petitioner Retirement Account - November 1 -
Request 7   E-Trade     IRA       2022   November       30D_1735375651776_1       November 30, 2022.
                                                        ClientStatements_202212   Petitioner Retirement Account - December 1 -
Request 7   E-Trade     IRA       2022   December       30D_1735375651841_0       January 31, 2022.
                                                        ClientStatements_202301   Petitioner Retirement Account - January 1 -
Request 7   E-Trade     IRA       2023   January        31D_1735375705796_8       January 31, 2023.
                                                        ClientStatements_202302   Petitioner Retirement Account - February 1 -
Request 7   E-Trade     IRA       2023   February       28D_1735375705509_7       February 28, 2023.
                                                        ClientStatements_202303   Petitioner Retirement Account - March 1 -
Request 7   E-Trade     IRA       2023   March          31D_1735375705484_6       March 31, 2023.
                                                        ClientStatements_202304   Petitioner Retirement Account - April 1 - April
Request 7   E-Trade     IRA       2023   April          28D_1735375705575_5       30, 2023.
                                                        ClientStatements_202305   Petitioner Retirement Account - May 1 - May
Request 7   E-Trade     IRA       2023   May            31D_1735375705674_4       31, 2023.
                                                        ClientStatements_202306   Petitioner Retirement Account - June 1 - June
Request 7   E-Trade     IRA       2023   June           30D_1735375707184_3       30, 2023.
                                                        ClientStatements_202309   Petitioner Retirement Account - July 1 -
Request 7   E-Trade     IRA       2023   July - Sept    29D_1735375706887_2       September 30, 2023.
                                                        ClientStatements_202309   Petitioner Account Summary Statement -
Request 7   E-Trade     IRA       2023   September      30D_1735375704173_1       September 2023.
                                                        ClientStatements_202312   Petitioner Account Summary Statement -
Request 7   E-Trade     IRA       2023   Oct - Dec      31D_1735375704150_0       October 1 - December 31, 2023.
                                                        ClientStatements_202403   Petitioner Account Summary Statement -
Request 7   E-Trade     IRA       2024   Jan - March    31D_1735375747654_2       January 1 - March 31, 2024.
                                                        ClientStatements_202406   Petitioner Account Summary Statement - April 1
Request 7   E-Trade     IRA       2024   April - June   30D_1735375747659_1       - June 30, 2024.
                                                        ClientStatements_202409   Petitioner Account Summary Statement - July 1
Request 7   E-Trade     IRA       2024   July - Sept    30D_1735375747646_0       - September 30, 2024.
                                                                                  Petitioner Interactive Brokers Activity
Request 7   IB                           Jan - Dec      U1352952_2022_2022        Statement; January 1 - December 31, 2022.
                                                                                  Petitioner Interactive Brokers Activity
Request 7   IB                           Jan - Dec      U1352952_2023_2023        Statement; January 1 - December 31, 2023.
                                                        U1352952_20240101_202     Petitioner Interactive Brokers Activity
Request 7   IB                           Jan - Dec      41227                     Statement; January 1 - December 27, 2024.
            JP
            Morgan                                      20241031-statements-      Petitioner Asset Account; No activity to report
Request 7   Chase       4003      2024   October        4003-                     October 2024.
            JP
            Morgan                                      20241130-statements-      Petitioner Asset Account; No activity to report
Request 7   Chase       4003      2024   November       4003-                     November 2024.
            JP                                                                    Petitioner Account - Consolidated Summary,
            Morgan                                      20241031-statements-      Private Client Checking Plus and Private Client
Request 7   Chase       7600      2024   October        7600-                     Savings; October 7 - October 31, 2024.
            JP                                                                    Petitioner Account - Consolidated Summary,
            Morgan                                      20241129-statements-      Private Client Checking Plus and Private Client
Request 7   Chase       7600      2024   November       7600-                     Savings; November 1 - November 29, 2024.
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            JP                                                                  Petitioner Account - Consolidated Summary,
            Morgan                                    20241031-statements-      Private Client Checking Plus and Private Client
Request 7   Chase      8125      2024   October       8125-                     Savings; October 7 - October 31, 2024.
            JP                                                                  Petitioner Account - Consolidated Summary,
            Morgan                                    20241129-statements-      Private Client Checking Plus and Private Client
Request 7   Chase      8125      2024   November      8125-                     Savings; November 1 - November 29, 2024.
                                                      360 ACCOUNT-6001-
Request 7   OCBC                 2022   September     Sep-22                    Petitioner Account Statement September 2022.
                                                      360 ACCOUNT-6001-
Request 7   OCBC                 2022   October       Oct-22                    Petitioner Account Statement October 2022.
                                                      Consolidated Statement-   Petitioner Acccount; Consolidated Statement
Request 7   OCBC                 2022   November      Nov-22                    November 2022.
                                                      Consolidated Statement-   Petitioner Acccount; Consolidated Statement
Request 7   OCBC                 2022   December      Dec-22                    December 2022.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   January       Jan-23                    Statement January 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   February      Feb-23 (1)                Statement February 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   March         Mar-23 (1)                Statement March 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   April         Apr-23 (2)                Statement April 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   May           May-23 (1)                Statement May 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   June          Jun-23 (2)                Statement June 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   July          Jul-23 (1)                Statement July 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   August        Aug-23 (1)                Statement August 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   September     Sep-23 (1)                Statement September 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   October       Oct-23                    Statement October 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   November      Nov-23                    Statement November 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2023   December      Dec-23 (1)                Statement December 2023.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2024   January       Jan-24                    Statement January 2024.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2024   February      Feb-24 (3)                Statement February 2024.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2024   March         Mar-24 (1)                Statement March 2024.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2024   April         Apr-24 (1)                Statement April 2024.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2024   May           May-24 (2)                Statement May 2024.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2024   June          Jun-24 (1)                Statement June 2024.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2024   July          Jul-24 (1)                Statement July 2024.
                                                      Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                 2024   August        Aug-24 (3)                Statement August 2024.
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                                                     Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                2024   September     Sep-24                    Statement September 2024.
                                                     Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                2024   October       Oct-24                    Statement October 2024.
                                                     Consolidated Statement-   Petitioner OCBC Account; Consolidated
Request 7   OCBC                2024   November      Nov-24                    Statement November 2024.
            Trust                                    PDF document-             Petitioner Trust Bank Account Statement-
Request 7   Bank                2022   September     F5BECCD2661A-1            September 2022.
            Trust                                    PDF document-             Petitioner Trust Bank Account Statement-
Request 7   Bank                2022   October       94D1D66DBDD2-1            October 2022.
            Trust                                    PDF document-             Petitioner Trust Bank Account Statement -
Request 7   Bank                2022   November      CE53966A354D-1            November 2022.
            Trust                                    PDF document-4F65-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2022   December      A952-53-0                 December 2022.
            Trust                                    PDF document-4389-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2023   January       BBD2-6C-0                 January 2023.
            Trust                                    PDF document-4444-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2023   February      A4FF-C3-0                 February 2023.
            Trust                                    PDF document-4ED9-        Petitioner Trust Bank Account Statement- March
Request 7   Bank                2023   March         A5FF-B5-0                 2023.
            Trust                                    PDF document-434E-        Petitioner Trust Bank Account Statement- April
Request 7   Bank                2023   April         A9EB-E7-0                 2023.
            Trust                                    PDF document-4E33-        Petitioner Trust Bank Account Statement- May
Request 7   Bank                2023   May           A0B6-B8-0                 2023.
            Trust                                    PDF document-4609-        Petitioner Trust Bank Account Statement- June
Request 7   Bank                2023   June          9700-DD-0                 2023.
            Trust                                    PDF document-             Petitioner Trust Bank Account Statement- July
Request 7   Bank                2023   July          6C2CFBEA56E4-1            2023.
            Trust                                    PDF document-4F9F-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2023   August        9C6F-9D-0                 August 2023.
            Trust                                    PDF document-40C3-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2023   September     AB97-73-0                 September 2023.
            Trust                                    PDF document-4DB4-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2023   October       B080-DE-0                 October 2023.
            Trust                                    PDF document-4054-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2023   November      8E22-CC-0                 November 2023.
            Trust                                    PDF document-4774-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2023   December      8835-A7-0                 December 2023.
            Trust                                    PDF document-4965-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2024   January       9DDA-D5-0                 January 2024.
            Trust                                    PDF document-423C-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2024   February      A90A-B8-0                 February 2024.
            Trust                                    PDF document-4DCE-        Petitioner Trust Bank Account Statement- March
Request 7   Bank                2024   March         ACB0-A8-0                 2024.
            Trust                                    PDF document-45B6-        Petitioner Trust Bank Account Statement- April
Request 7   Bank                2024   April         80C0-BD-0                 2024.
            Trust                                    PDF document-48A3-        Petitioner Trust Bank Account Statement- May
Request 7   Bank                2024   May           9F17-B6-0                 2024.
            Trust                                    PDF document-4BD8-        Petitioner Trust Bank Account Statement- June
Request 7   Bank                2024   June          B80B-3F-0                 2024.
            Trust                                    PDF document-456A-        Petitioner Trust Bank Account Statement- July
Request 7   Bank                2024   July          88A3-F5-0                 2024.
            Trust                                    PDF document-46D3-        Petitioner Trust Bank Account Statement-
Request 7   Bank                2024   August        8B83-84-0                 August 2024.
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            Trust                                   PDF document-4D57-   Petitioner Trust Bank Account Statement -
Request 7   Bank                2024   September    8E28-AA-0            September 2024.
            Trust                                   PDF document-43EB-   Petitioner Trust Bank Account Statement-
Request 7   Bank                2024   October      8723-60-0            October 2024.
            Trust                                   PDF document-4C7D-   Petitioner Trust Bank Account Statement-
Request 7   Bank                2024   November     8BC2-4C-0            November 2024.
